In re:

 

“Case 17-10679-LSS Doc 13

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 7

MAD CATZ, INC.,' Case No. 17-10679 (KG)

Debtor.

 

SCHEDULES OF ASSETS AND LIABILITIES

YOUNG CONAWAY STARGATT & TAYLOR, LLP
Rodney Square

1000 N. King Street

Wilmington, Delaware 19801

Telephone: (302) 571-6600

Facsimile: (302) 571-1253

Counsel for the Debtor

 

| The last four digits of the Debtor’s federal tax identification number are (0365). The Debtor’s address is 10680
Treena Street, Suite No. 500, San Diego, California 92131.

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These Global Notes regarding the Debtor’s Schedules of Assets and Liabilities (the “Schedules”) and
Statement of Financial Affairs (the “SOFA”) comprise an integral part of the Schedules and SOFA
and should be referred to and considered in connection with any review of them.

1. The debtor in the above-captioned case (the “Debtor”) prepared these unaudited Schedules and
SOFA pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and
Rule 1007 of the Federal Rules of Bankruptcy Procedure. Except where otherwise noted the
information provided herein is presented as of the beginning of business on March 30, 2017 (the
“Petition Date”).

2. While the Debtor has made every reasonable effort to ensure that the Schedules and SOFA are
accurate and complete, based upon information that was available to it at the time of preparation,
inadvertent errors or omissions may exist and the subsequent receipt of information and/or further
review and analysis of the Debtor’s books and records may result in changes to financial data and
other information contained in the Schedules and SOFA. Moreover, because the Schedules and
SOFA contain unaudited information, which is subject to further review and potential adjustment,
there can be no assurance that the Schedules and SOFA are complete or accurate.

3. In reviewing and signing the Schedules and SOFA, David McKeon, the duly authorized and
designated representative of the Debtor (the “Designated Representative”), has necessarily relied
upon the prior efforts, statements and representations of other personnel and professionals of the
Debtor. The Designated Representative has not (and could not have) personally verified the
accuracy of each such statement and representation that collectively provide the information
presented in the Schedules and SOFA, including but not limited to, statements and representations
concerning amounts owed to creditors and their addresses.

4. The Debtor reserves its rights to amend its Schedules and SOFA as may be necessary or
appropriate in the Debtor’s sole and absolute discretion, including, but not limited to, the right to

assert offsets or defenses to (which rights are expressly preserved), or to dispute, any claim
reflected on the Schedules as to amount, liability or classification, or to otherwise subsequently
designate any claim as “disputed,” “contingent” or “unliquidated.” These Global Notes will apply
to all such amendments. Furthermore, nothing contained in the Schedules shall constitute a waiver
of the Debtor’s rights with respect to this chapter 7 case and specifically with respect to any issues
involving substantive consolidation, equitable subordination and/or causes of action arising under
the provisions of chapter 5 of the Bankruptcy Code and other relevant non-bankruptcy laws to
recover assets or avoid transfers, or an admission relating to the same.

5. Any failure to designate a claim listed on the Debtor’s Schedules as “disputed,” “contingent” or
“unliquidated” does not constitute an admission by the Debtor that such amount is not “disputed,”
“contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed may be exclusive
of contingent and additional unliquidated amounts. Further, the claims of individual creditors are
listed as the amounts entered on the Debtor’s books and records and'may not reflect credits or
allowances due from such creditors to the Debtor or setoffs applied by such creditors against
amounts due by such creditors to the Debtor with respect to other transactions between them. The
Debtor reserves all of its rights with respect to any such credits and allowances.

6. Some of the Debtor’s scheduled assets and liabilities are unknown and/or unliquidated. In such
cases, no amounts are listed or the amounts are listed as “undetermined,” “unknown,” “none
calculated” or to similar effect. Accordingly, for this and other reasons the Schedules may not fully
reflect the aggregate amount of the Debtor’s assets and liabilities.

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7. Attimes, the preparation of the Schedules and the SOFA required the Debtor to make assumptions
that may affect the reported amounts of assets and liabilities, the disclosures of contingent assets
and liabilities, and/or other items. Actual results could differ from those estimates. Pursuant to Fed.
R. Bankr. P. 1009, the Debtor may amend its Schedules as it deems necessary and appropriate to
reflect material changes. In addition, the Debtor, for the benefit of its estate, reserves the right to
dispute or to assert offsets or defenses to any claim listed on the Schedules.

8. Given the differences between the information requested in the Schedules and the financial
information utilized under generally accepted accounting principles in the United States (“GAAP”),
the aggregate asset values and claim amounts set forth in the Schedules may not necessarily reflect
the amounts that would be set forth in a balance sheet prepared in accordance with GAAP.

9. With respect to Schedule A/B, questions 6-8, the retainer amounts paid by the Debtor to its
bankruptcy counsel, Young Conway Stargatt & Taylor, LLP, on an earned upon receipt basis do
not constitute an interest of the Debtor in property and are thus not listed in response to Schedule B,
questions 6-8. These payments are listed in response to SOFA question 11.

10. With respect to Schedule A/B, question 7.1, the prepayments listed in response to this question
marked “ATM Equity Offering,” “McMillan LLP,” and “KPMG” are expenses that were incurred
for work actually performed to prepare an “at the market” secondary offering of Mad Catz
Interactive, Inc. stock. No shares were actually issued under the offering, however, so these
expenses were not recognized under U.S. GAAP, but remained a prepaid asset on the Debtor’s
books until such time as shares would be issued under the offering. The Debtor believes the
amounts listed do not represent amounts that can be returned to the Debtor. Upon the issuance of
shares by Mad Catz Interactive, Inc., the Debtor would be repaid these amounts incurred via cross-
charge.

11. With respect to Schedule A/B, question 8.1, the Debtor made payment on the respective insurance
policies listed even though it was not the primary insured under certain of the policies. In the
ordinary course of its business, it would cross-charge its affiliates for these and other overhead
charges, as well as other items, using arm’s length transfer pricing.

12. With respect to Schedule A/B questions 10-12, the Debtor’s listed accounts receivable are
presented as of the opening of business on March 30, 2017 without deducting for customer
allowances, such as those provided to certain customers as incentives to purchase additional
product or those provided in lieu of the Debtor accepting returns. Additionally, the Debtor’s
accounts receivable also include receivables from a customer, U&I Entertainment LLC, that have
not been recognized to revenue for U.S. GAAP reporting purposes due to extended payment terms
offered in the agreement with U&I Entertainment LLC, which provide that this customer is
obligated to pay for all product purchased but delay the obligation to pay until it is resold by the
customer to a third party. At the Debtor’s most recent month-end close, the deduction from such
allowances represented a reduction of approximately 62% from gross accounts receivable, with
such percentage exclusive of $3.4 million of receivables U&I Entertainment LLC that were
excluded because of these payment terms.

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With respect to Schedule A/B, questions 38-41, the Debtor has not verified the physical existence
of all assets listed in response thereto; it is possible at least some assets may have been discarded,
disposed of, or otherwise transferred or abandoned prior to the Petition Date.

With respect to Schedule A/B, question 55, the Debtor has historically carried a book value for
leasehold improvements on its books and records, but does not carry a book value for leaseholds on
its books and records. Additionally, with respect to the Debtor’s Redlands lease, the Debtor wrote

down the value of its leasehold improvements to zero when it vacated the premises in January
2017.

With respect to Schedule A/B, question 63, the Debtor acquired a customer list from TRITTON
Technologies, a gaming audio headset firm, in 2010 as part of a broader acquisition of such entity’s
assets. The value of this list is being depreciated over the course of 96 months (8 years).
Operationally, the customer list has been merged into the balance of the Debtor’s customer list.
Given its generally organic development, the Debtor has not ascribed a book value to the balance of

the customer list. As such, the value shown is only that remaining value of the list acquired from
TRITTON Technologies.

With respect to Schedule A/B, question 72, while the Debtor believes it possesses unused net
operating losses, the amount of these unused net operating losses may depend on a variety of
factors and the Debtor makes no warranty or representation that the amounts set forth in response to
question 72 may be realized. These amounts derive from the Debtor’s outside tax advisors, Scurio
Consulting, Inc.

With respect to Schedule A/B, question 73, the Debtor was provided coverage under various
insurance policies as of the Petition Date, but did not ascribe a book value to any of its insurance
policies, only one of which was in the name of the Debtor.

With respect to Schedule A/B, questions 74 and 75, the Debtor has not listed any causes of action
against third parties, although it is possible some such causes of action may exist. Among other
things, the Debtor has not analyzed and listed any potential actions arising under chapter 5 of the
Bankruptcy Code. The Debtor, on behalf of its estate, reserves all of its rights with respect to any
causes of action it may have, whether or not listed as assets in the Schedules and SOFA, and neither
these Global Notes nor the Schedules and SOFA shall be deemed a waiver of any such causes of
action.

The Debtor has not determined whether, and to what extent; any of the creditors identified on Part 1
of Schedule E/F are actually entitled to priority under section 507 of the Bankruptcy Code. The
Debtor reserves the right to assert that claims identified on Schedule E are not claims that are
entitled to priority.

With respect to Schedule E/F, the Debtor has not included taxing authorities that might assert
claims in currently unknown amounts. The Debtor has also excluded customers who paid for
product that may or may not be delivered by the Debtor.

For the purposes of the Schedules, the Debtor has only scheduled claims and executory contracts
for which the Debtor may be contractually and/or otherwise directly liable. No claims have been
scheduled for which the Debtor may have benefited directly or indirectly from a contractual

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relationship to which the Debtor was not a named party, such as that with a subsidiary, unless the
Debtor believes it was otherwise directly liable on the claim. Without limiting the foregoing, the
Debtor has excluded a number of insurance policies proving coverage to the Debtor as an
additional insured because the primary insured is an affiliate of the Debtor.

22. The Debtor, on behalf of its estate, hereby reserves all of its rights to dispute the validity, status or
enforceability of any contract, agreement, lease or document set forth on Schedule G, including but
not limited to those that may have expired or may have been modified, amended, and supplemented
from time to time by various amendments, restatements, waivers, estoppel certificates, letters and
other documents, instruments, and agreements which may not be listed on Schedule G. Any
contract, agreement, lease or document listed on Schedule G may contain certain renewal options,
guarantees of payment, options to purchase, rights of first refusal, and other miscellaneous rights.
Such rights, powers, duties and obligations are not set forth on Schedule G. Certain executory
agreements may not have been memorialized in writing and could be subject to dispute. In
addition, the Debtor may have entered into various other types of agreements in the ordinary course
of its businesses, such as supplemental agreements, amendments/letter agreements, and/or
confidentiality agreements. Such documents may not be set forth on Schedule G. The Debtor, on
behalf of its estate, reserves all of its rights to dispute or challenge the characterization of the
structure of any transaction, or any document or instrument related to a creditor’s claim. In the
ordinary course of business, the Debtor may have entered into agreements, written or oral, for the
provision of certain services on a short-term or at-will basis. Such contracts may not be included
on Schedule G. However, the Debtor, on behalf of its estate, reserves its right to assert that such
agreements constitute executory contracts.

23. Listing a contract, lease, agreement or other document on Schedule G does not constitute an
admission that such contract, lease, agreement or other document is an executory contract or
unexpired lease, and omitting any contract, lease, agreement or other document from Schedule G
does not constitute an admission that such contract or agreement is not an executory contract or
unexpired lease. On behalf of its estate, the Debtor reserves all rights to challenge whether any of
the listed contracts, leases, agreements or other documents constitute an executory contract or
unexpired lease, and to add additional contracts, leases, agreements or other documents to Schedule
G. Any and all of the Debtor’s rights, claims and causes of action with respect to the contracts and
agreements listed on Schedule G are hereby reserved and preserved.

24. For purposes of Schedule H, the Debtor has not listed its past insurers or its current insurers as co-
debtors because the Debtor is unaware of any actual present liability on the part of these parties.
The Debtor reserves its rights to assert that any of the various foregoing parties (or any other party
not listed on Schedule H whom the Debtor later discovers to be liable in whole or part for any
obligation of the Debtor) is a co-debtor with the Debtor, and neither these Global Notes nor the
Schedules and SOFA shall be deemed a waiver of any rights of the Debtor to assert that any entity
not listed in response to Schedule H is a co-debtor with respect to one or more of the Debtor’s
obligations.

25. With respect to SOFA question 1, the Debtor’s fiscal year has historically ended on March 31,
2017. For the current year, although the Debtor remained operational until March 30, 2017 as
noted in response to question 1, gross revenue is presented through and including February 28,

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2017, its most recent month-end close. Gross revenue is presented without netting for operating
expenses.

With respect to SOFA question 3, payments for employee compensation are excluded, as are “cash
sweeps” made by the Debtor’s secured lenders.

With respect to SOFA question 4, wages and salary paid to employees are excluded. The salary
paid to officers and directors of the Debtor within the past year is listed in response to SOFA
question 30.

With respect to SOFA questions 4 and 30, the listing of any person or entity is not intended to be
nor shall it be construed as a legal characterization of such party as an insider, and does not act as
an admission of any fact, claim, right or defense, and all such rights, claims and defenses are
hereby reserved by both the Debtor and such persons or entities.

With respect to SOFA question 6, in the ordinary course of business certain of the Debtor’s
creditors may have setoff all or part of amounts owed by the Debtor against security deposits,
retainers or payables owed to the Debtor. The Debtor did not historically maintain a record of such
setoffs, so they are not listed. Additionally, bank fees deducted from bank accounts of the Debtor
are not listed in response to SOFA question 6.

With respect to SOFA question 9, the Debtor believes there have been no gifts or charitable
contributions during the two years prior to the Petition Date, but the logistical challenge of
identifying a de minimis gift has prevented the Debtor from verifying this belief prior to the filing
of the SOFA.

With respect to SOFA question 11, although the Debtors consider such payment to be outside the
scope of information requested by SOFA question 11, the Debtor notes it also provided
compensation to McMillan LLP, the Canadian law firm arranging for certain of its affiliates’
liquidation proceedings in Canada.

With respect to SOFA question 13, other than the sale to Logitech Inc., the Debtor is treating all
transfers made during the applicable period to be transferred in the ordinary course of its business
or financial affairs, but this is not intended to be nor shall it be construed as a legal characterization
of such transactions as ordinary course transactions or non-ordinary course transactions, and does
not act as an admission of any fact, claim, right or defense, and all such rights, claims and defenses
are hereby reserved by both the Debtor and such persons or entities who were a party to any other
transactions.

With respect to SOFA questions 26(a) through 26(c), the Debtor has excluded rank and file
accountants and bookkeepers in response to this question, instead listing those officers who
supervised them, as well as the Debtor’s external audit firm.

With respect to SOFA question 26(d), it was not the practice of the Debtor to maintain complete
records of transmittal of financial statements, and as such the Debtor cannot provide an exhaustive
list of all entities that have received one or more financial statements from the Debtor in response
to SOFA question 19(d), or the dates of such transmittals. Moreover, the Debtor typically did not
produce stand-alone financial statements, but instead was included on the consolidated financial

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statements of its corporate parent Mad Catz Interactive, Inc. together with other affiliates, which
consolidated financial statements were publicly filed on account of Mad Catz Interactive, Inc.’s
status as a publicly traded entity. An exception to this practice was the provision to the Debtor’s
lenders of consolidating financial statements in early 2017, which included distinct financial
information for the Debtor and other affiliates.

With respect to SOFA question 27, these represent the Debtor’s most recent full physical
inventories, which take place once a year; inventory sampling occurs on a more frequent basis.

With respect to SOFA question 28, all of the Debtor’s officers and directors resigned from those
positions effective shortly after the filing of the Debtor’s bankruptcy case, but are listed herein to
the extent still in those positions as of the filing of the Debtor’s chapter 7 bankruptcy petition.
Prior to its resignation, the board designated the Designated Representative to complete certain
specified tasks related to this chapter 7 case notwithstanding such resignations, including
completion of the Schedules and SOFA.

With respect to SOFA question 30, the amount of compensation paid to, and expense
reimbursements made to, the officers and directors of the Debtor during the period stated therein is
listed therein in aggregate form. More detailed information can be obtained from the Debtor’s
books and records.

The Debtor and its past or present officers, employees, attorneys, professionals and agents
(including, but not limited to, the Designated Representative), do not guarantee or warrant the
accuracy, completeness, or currentness of the data that is provided herein and shall not be liable for
any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating or delivering the information contained herein. The Debtor and its past or present
officers, employees, attorneys, professionals and agents (including, but not limited to, the
Designated Representative) expressly do not undertake any obligation to update, modify, revise or
re-categorize the information provided herein or to notify any third party should the information be
updated, modified, revised or re-categorized. In no event shall the Debtor or its past or present
officers, employees, attorneys, professionals and/or agents (including, but not limited to, the
Designated Representative) be liable to any third party for any direct, indirect, incidental,
consequential or special damages (including, but not limited to, damages arising from the
disallowance of any potential claim against the Debtor or damages to business reputation, lost
business or lost profits), whether foreseeable or not and however caused arising from or related to
any information provided herein or omitted herein.

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Mad Catz, Inc.

Debtor name

« : _.. Delaware
United States Bankruptcy Court for the: District of

(State)
Case number (If known): 17-10679 (KG)

 

 

U] Checkif this is an
amended filing

Official Form 206Sum

Summary of Assets and Liabilities for Non-Individuals

| Part 4: | Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

1215

1a. Real property: 0.00
Copy line 88 from Schedule A/B $

 

 

 

1b. Total personal property:
Copy line 91A from Schedule A/B

3 20,310,468.19

 

 

1c. Total of all property:
Copy line 92 from Schedule A/B

g 20,310,468.19

 

 

 

| Part 2: | Summary of Liabilities

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D) 5 342. 402.31
Copy the total dollar amount listed in Column A, Amount of claim, fromline 3 of Schedule D $e

 

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

 

3a. Total claim am ounts of priority unsecured claims: 1.783.216.24
Copy the total claims fromPart 1 fromline 5a of Schedule E/F $e

 

 

3b. Total am ount of claims of nonpriority am ount of unsecured claims:

+ 5 7,306,828.69
Copy the total of the amount of claims fromPart 2 fromline 5b of Schedule E/F —__—__—_—_-

 

 

4. Total liabilities

$ 14,432,447.74
Lines 2 + 3a+ 3b

 

 

 

Official Form 206Sum Sum mary of Assets and Liabilities for Non-Individuals

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Fill in this information to identify the case:
LJ Check if this is
Debtor name Mad Catz, Inc. an amended filing

 

United States Bankruptcy Court for the: District of Delaware
(State)

Case number (If known): _17-10679 (KG)

 

 

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, tist any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 

 

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part1 through Part 11, list each asset under:the appropriate category.or.attach separate supporting schedules; such as a fixed’asset
schedule or depreciation schedule, that gives the details for each asset_in a particular category: List each asset only once. In valuing the
debtor’s interest, do not deduct the value of. secured claims. See the instructions to. understand the terms used in this form.

| Part: | Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

[1 No. Go to Part 2.

M1 Yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the.debtor S »_ Current value of debtor’s
: : eee Se : : interest | : :
* 2. Cash on hand $ 63.94

_ 3. Checking, savings, money market, or financial brokerage accounts (/dentify all)

 

 

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3.1. Wells Fargo _Qperating Account ———__ 7520 $ 142,481.22
3.2. Wells Fargo Sweep Account 0201 $ 93,069.77

 

4. Other cash equivalents (identify all)
4.1. None

4.2.

 

 

5. Total of Part 1 $235,614.93
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

| Part 2: | Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

 

 

CL No. Go to Part 3.

M Yes. Fill in the information below.

 

 

Current value of
debtor's interest

 

 

 
  

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7, Deposits, including security deposits and utility deposits
Description, including name of holder of deposit
7.1. Deposits (see attached)

7.2. Security Deposits (see attached)

 

 

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment
8.1. Prepaid Insurance (see attached)
8.2. Prepaid Other (see attached)

8.3. Prepaid Royalties (see attached)

9. Total of Part 2.
Add lines 7 through 8. Copy the total to line 81.

to Accounts Receivabie

10. Does the debtor have any accounts receivable?
LI] No. Go to Part 4.

M1 Yes. Fill in the information below.

11. Accounts receivable

 

 

11a.90 days oldorless: _2,871,885.45 - 0 = eee LT
face amount doubtful or uncollectible accounts

11b, Over 90 days old: 5,430,893.47 — 264,927.83 nae i
face amount doubtful or uncollectible accounts

12. Total of Part 3

Current value on lines 11a + 11b = line 12. Copy the total to line 82.

fa Investments

13. Does the debtor own any investments?
CL] No. Goto Part 5.

VJ Yes. Fill in the information below.

Valuation method
used for current value

14. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:
14.1.

 

$ 129,893.32
$ 91,105.27 :

$ 225,764.63
$ 534,449.44
$ 437,890.41

$ 1,419,103.07

Current value of debtor’s
interest

$ 2,871,885.45

$.5,165,965.64

$_8,037,851.09

Current value of debtor’s
interest

 

14.2.

 

15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture

 

Name of entity: % of ownership:
15.1.__Mad Catz Interactive Asia 1%
15.2. %

 
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16. Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1 cr ae

 

 

 

 

Describe:

16.1. - §

16.2. — §
17. Total of Part 4 5 0

 

 

Add lines 14 through 16. Copy the total to line 83.

 

 

 

 

 

 

 

 
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| Part 5: | Inventory, excluding agriculture assets

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19.

Does the debtor own any inventory (excluding agriculture assets)?
LI No. Go to Part 6.

M Yes. Fill in the information below.

General description Date of the last Net book value of Valuation method used
physical inventory. “debtor's interest for.current value

(Where available)

Raw materials
Fightstick parts 03/31/16

 

20.

Current: value of
debtor’s interest

 

 

 

21.

 

 

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. +3-899.28 —_____
saa /DBTWWY $ 13,899.28 LCM $43.
Work in progress
apne Seen $ $
MM /DD/YYYY
Finished goods, including goods held for resale
Headsets, mice and keyboards 03/31/16
TT LCM $.7,052,957.82
MM /DDIYYYY $ _7,052,957.82
Other inventory or supplies $
MM /DD/YYYY $

Total of Part 5
Add lines 19 through 22. Copy the total to line 84.

Is any of the property listed in Part 5 perishable?
No
Cl Yes
Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
C1 No
M1 Yes. Book value $41,250 Valuation method_cost Current value $41,250

Has any of the property listed in Part 5 been appraised by a professional within the last year?

[1 No

Yes

ci)

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Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
M No. Go to Part 7.
- Le Yes: Fillin the information below.
General deccription. oe ce : . _. Net book value of Valuation method used
a8 ee : : : debtor's interest for current value -
(Where available)
Crops—either planted or harvested

 

 

_$ 7,066,857.10

 

Current value of debtor's _
interest, 2

 

 

30.

 

31.

$ $
Farm animals Examples: Livestock, poultry, farm-raised fish

$ $
Farm machinery and equipment (Other than titled motor vehicles)

$ $
Farm and fishing supplies, chemicals, and feed

$ $.

 

 

 

 
 

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32. Other farming and fishing-related property not already listed in Part 6
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Total of Part 6.
Add lines 28 through 32. Copy the total to line 85.

Is the debtor a member of an agricultural cooperative?
[J No
C1 Yes. Is any of the debtor’s property stored at the cooperative?
Cl No
CO Yes
Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

CL] No

L] Yes. Book value $ Valuation method Current value $
Is a depreciation schedule available for any of the property listed in Part 6?

CI No

C1 Yes
Has any of the property listed in Part 6 been appraised by a professional within the last year?

C1 No
L] Yes

Ea Office furniture, fixtures, and equipment; and collectibles

| 38.

 

42.

 

39.

40.

41.

«43.

44,

45.

 

 

$90

 

 

Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

[3 No. Go to Part 8.
M1 Yes. Fill in the information below.

General description * : , ce _ Net: book value of Valuation method
: : : / debtor's interest. . : used for. current value

(Ww here available)

 

Office furniture

 

Current value of debtor's
interest o

 

 

Desks, chairs, and other items at headquarters and 3PL distribution center $115,745 cost less depreciation $ 115,745
Office fixtures
$ $
Office equipment, including all computer equipment and
communication systems equipment and software
See attached $61,953 cost less depreciation $ 61,953

 

Collectibles Examples: Antiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card collections; other collections, memorabilia, or collectibles

 

 

42.1 $ $
42.2 $ $
42.3 $ $

 

Total of Part 7.
Add lines 39 through 42. Copy the total to line 86.

Is a depreciation schedule available for any of the property listed in Part 7?
C1 No
M Yes
Has any of the property listed in Part 7 been appraised by a professional within the last year?

M No

 

 

$177,698

 

 

 
 

  

oe ee ee
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Machinery, equipment, and vehicles

 

46. Does the debtor own or lease any machinery, equipment, or vehicles?

(1 No. Go to Part 9.

%o M1 Yes. Fill in the information below.

General description Net book value of Valuation method. used
debtor's. interest for current.value

include year, make, model, and ‘identification: numbers (i.e., VIN, :
¥ ( (Where available)

HIN,-or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

Current value:of
debtor's interest

 

 

 

 

 

 

 

 

 

 

 

 

47.1 $ $
47.2 $ $
47.3 $ $
47.4 $ $
48. Watercraft, trailers, motors, and related accessories Examples: Boats,
trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1 $ $
48,2 $ $
49. Aircraft and accessories
49.1 $ $
49.2 $ $
50. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)
See attached $71,367 cost less depreciation $71,367

 

 

51. Total of Part 8.
: Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
[CL] No
WI Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

MI No
L] Yes

 

 

 

 

 

 

 

 

$71,367

 

 

 
\ | |
- eb ae ae ee ot 1

Real property

 

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| a

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Cae debtor own or lease any real property?
: No. Go to Part 10.

Mv Yes. Fill in the information below.

«55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

 

 

 

56.

+257.

58.

60.

64.
62.

63.

Description and location of property Include
street.address or other. description.such as Assessor.
Parcel Number (APN), and.type of property (for

example; acreage, factory; warehouse, apartment or:
office: building), if available: :

 

 

 

Nature and extent
of debtor’s interest debtor's interest
in property

Net book value of

(Where available)

 

Valuation method used
for current value

Current value of
debtor's interest

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

55:1-Lease and leasehold improvements at 10680 Leased:Property $372,878.36. Cost.less' depreciation _$.0:00
Treena' Street, Suite 500 San Diego, CA.92134
55.2 Lease and leasehold improvements at 490 Nevada -_Leased Property $0.00 Written down $0.00
Street Rediands, CA 92373
55.3. 3. $
55.4 $ $.
55.5 $ $
55.6. $ $
Total of Part 9.

$0.00

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

Is a depreciation schedule available for any of the property listed in Part 9?

C1 No
MI Yes

Has any of the property listed in Part 9 been appraised by a professional within the last year?

MI No
O Yes

lees Intangibles and intellectual property

59.

Does the debtor have any interests in intangibles or intellectual property?

L] No. Go to Part 11.
M1 Yes..Fill in the information below.

General description

Patents, copyrights, trademarks, and trade secrets

Net book value of
debtor's interest

(Where available)

Valuation method
used for current value

 

 

 

 

Current. value of

_ debtor's interest

 

 

 

 

 

 

 

 

 

64.

 

Defensive TradeMark $52,667 Cost less depreciation $ 52,667
Patent No. 7532200 and TWI269206B $ 108,963 Costless depreciation $ 108,963
Tritton trademark and Trade name $1,205,556 Purchase price less $ 1,205,556
depreciation
Internet domain names and websites
See attached schedule $ $
Licenses, franchises, and royalties
$. $
Customer lists, mailing lists, or other compilations
Tritton customer list $131,250 Purchase price less $131,250 :
depreciation
Other intangibles, or intellectual property
$ S$.

 

 

 

 

 

 

 

 

 
J). JOS Site bo oe eee re dd
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- 65. Goodwill

 

66. Total of Part 10.
Add lines 60 through 65. Copy the total to line 89.

$1,498,436
: 67.
68.

69.

 

a
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Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

L] No

M Yes

Is there an amortization or other similar schedule available for any of the property listed in Part 10?
[J] No

MyYes

Has any of the property listed in Part 10 been appraised by a professional within the last year?

MI No
‘a Yes

| Part 443 All other assets

 

 

 

70.

71.

72,

73.

74,

75.

. 76.

77.

Does the debtor own any other assets that have not yet been reported on this form?

Include all interests in executory contracts and unexpired leases not previously reported on this form.
L] No. Go to Part 12.

MI Yes. Fill in the information below.

Notes receivable
Description (include name of obligor)

 

 

 

Current:value: of
debtor's interest

 

 

 

~ =I $ None
Total face amount doubtful or uncollectible amount
Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)
Federal
tax year _FY16 $ 250,482
tax year _FY15 $ 150,718
fax year FY14 $ 225,410

 

 

tax year EY12
tax year ___FY41__
tax year FY10

 

Interests in insurance policies or annuities

 

Causes of action against third parties (whether or not a lawsuit
has been filed)

Nature of claim

 

Amount requested $
Other contingent and unliquidated claims or causes of action of

every nature, including counterclaims of the debtor and rights to
set off claims

Nature of claim

 

Amount requested $

Trusts, equitable or future interests in property

Other property of any kind not already listed Examples: Season tickets,
country club membership

 

78.

Total of Part 11.
Add lines 71 through 77. Copy the total to line 90.

$ 716,367
$ 419,593

$__ 40,961

$ Undetermined

$ Undetermined

$ Undetermined

$ None

-$ Undetermined

$1,803,531

 

 

 

 

 
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. 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
: M No
L1l Yes
“|

noes “mew

In Part 12 copy all of the totals from the earlier parts of the form.
Type of: property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 7.

81. Deposits and prepayments. Copy line 9, Part 2.

82. Accounts receivable. Copy line 12, Part 3.

83. Investments. Copy line 17, Part 4.
84. Inventory. Copy line 23, Part 5.

85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.

 

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88. Real property. Copy line 56, Part 9. ooo... cccccccccccccccecsscensseeensseeensees

 

If onoos a

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Current value of Current.value
personal property of real property
$235,614.93

 

$.1,419,103.07

$_8.037,851.09
$0

$_7,066,857.10

 

 

 

 

 

$0
$177,698
$71,377
sevonvnennevivesseeeeceeees L $.0
$ 1,498,436

 

+ $1,803,531

 

91. Total. Add lines 80 through 90 for each column. ..............:0cceees 91a.

 

$ 20,310,468.19 + otb, $2

 

 

 

 

92. Total of all property on Schedule AJB. Lines 91a + 91D = 92. oo. ceccteccerecesssesecsecsessecsarcaessueusstessesssssesecescesenesenete

 

 

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Case 17-10679-LSS Doc13 Filed 04/06/17 Page 27 of 60

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Madcatz.hk
Madcatz.sg
Madcatz.co.in
Madcatz.com.au
Tritton.cn
Tritton.com.cn
Tritton.jp
TrittonAudio.cn
Trittonaudio.com.cn
TrittonAudio.jp
TrittonAudio.sg
TrittonAudio.tw

SCHEDULE A/B QUESTION 61

Registrant
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Country
Hong Kong
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Case 17-10679-LSS

Fill in this information to identify the case:

Debtor name Mad Catz, Inc.

Poi AR le OP LP
Doc 13 Filed 04/06/17

 

United States Bankruptcy Court for the:

17-10679 (KG)

Case number (If known):

 

District of Delaware
(State)

 

Official Form 206D

 

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
() No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

@ Yes. Fill in all of the information below.

ioe List Creditors Who Have Secured Claims

 

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
secured claim, list the creditor separately for each claim.

Page 28 of 60

 

 

 

 

 

 

 

 

al Se ei | yp ele

UL) Check if this is an
amended filing

12/15

——.

Column.B
Value of collateral
-that.supports this

Column A
Amount of claim
Do not deduct the value

 

 

 

 

 

 

 

 

 

 

 

 

 

Page, if any.

 

 

 

of collateral: claim
Creditor’s name Describe debtor's property that is subject to a lien
Sterling National Bank Substantially all assets .4,806,483.08 $unknown
Creditors mailing address
8401 N. Central Expressway Suite 600
Dallas, TX 75225 Describe the lien
Creditor’s email address, if known Is the creditor an insider or related party?
ggentry@snb.com @ No
QO Yes
Date debt was incurred June 2015 Is anyone else liable on this claim?
Last 4 digits of t L) No
as igits of accoun @ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
number ——
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
a No , oo, | . . Q Contingent
Yes. Specify each creditor, including this creditor, a Unliquidated
and its relative priority. QO Disputed
2.2! Creditor’s name Describe debtor's property that is subject to a lien
FGI Finance Substantially all assets $535,919.73 s.unknown
Creditors mailing address
80 Borad Street, 22nd Floor
New York, NY 10004 Describe the lien
Creditor’s email address, if known Is the creditor an insider or related party?
@ No
U Yes
Date debt was incurred Is anyone else liable on this claim?
Last 4 digits of t CI No
as igits of accoun @ Yes. Fill out Schedule H: Codebfors (Official Form 206H).
number — —__ __
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
UO No QO) contingent
@@ Yes. Have you already specified the relative Q) unliquidated
priority? O Disputed
@ No. Specify each creditor, including this
creditor, and its relative priority.
CO} Yes. The relative priority of creditors is
specified on lines Z
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional $ 9,342,402.81

 

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 2

 
 

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Case 17-10679-LSS Doc13 Filed 04/06/17 Page 29 of 60

 

Debtor Mad Caiz, Inc. Case number (it knawn_1?-10679 (KG)

 

Name

Pat 2: | List Others to Be Notified for a Debt Already Listed in Part 1

 

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and addrésé On which line in Part 1 Last'4 digits of
did you enter the account number
related creditor? for this entity

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

Line 2.

 

 

 

 

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Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2
f me _ fee me ee OE we we crea tae te t

Case 17-10679-LSS Doc13 Filed 04/06/17 Page 30 of 60

Fill in this information to.identify the case:

Debtor Mad Catz, Inc.

United States Bankruptcy Court for the: District of Delaware
(State)

Case number _17-10679 (KG)
(if known)

L] Check if this is
an amended filing

 

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 

 

Co List All Creditors with PRIORITY Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
%oL] No. Go to Part 2.
lI Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.
Total claim Priority amount
Priority creditor's name and mailing address As of the petition filing date, the claim is: $ 848,842.56 $ 12,850
Karen McGinnis Check all that apply.
Redacted % Contingent
—  %o Unliquidated
%o Disputed
Date or dates debt was incurred Basis for the claim:
3/30/17 severance
Last 4 digits of account Is the claim subject to offset?
number %ofl No
Specify Code subsection of PRIORITY unsecured Yes
claim: 11 U.S.C. § 507(a) (4)
Fe Priority creditor's name and mailing address As of the petition filing date, the claim is: $481,945.20 $ 12,850
Check ail that apply.
David McKeon Contingent
Redacted b Unliquidated
Disputed
Date or dates debt was incurred Basis for the claim:
3/30/17 severance
Last 4 digits of account Is the claim subject to offset?
number BE No
. . C1 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) (4)
Priority creditor's name and mailing address As of the petition filing date, the claim is: $ 452,428.48 $12,850
|___ Check ail that apply.
Tyson Marshall % Contingent
Redacted — % Unliquidated
%o Disputed
Date or dates debt was incurred Basis for the claim:
3/30/17 severance
Last 4 digits of account Is the claim subject to offset?
number % Ml No
Specify Code subsection of PRIORITY unsecured Yes
claim: 11 U.S.C. § 507(a) (4)

 

 

 
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Priority creditor's name and mailing address

Case 17-10679-LSS Doc13  Filed-04/06/17 Page 31 of 60

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y this page. if more space is seeded. ‘Continue numbering the tines ‘sequentially fr
_ Previous Page. Me no ) additional PRIORITY. creditors exist do not fill out or submit thi

 

 

 

  

 

2

=) Total claim

Priority amount

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

As of the petition filing date, the claim is:

Check ail that apply.
Contingent
Unliquidated

Disputed

Basis for the claim:

 

Is the claim subject to offset?
me)
1] Yes

$
As of the petition filing date, the claim is:
Check ail that apply.
%o Contingent
%o Unliquidated
%q Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number %L1 No
. . L Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )
Io Priority creditor's name and mailing address $
As of the petition filing date, the claim is:
Check aif that apply.
Contingent
Unliquidated
Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account , Is the claim subject to offset?
number C] No
Specify Code subsection of PRIORITY unsecured U1 Yes
claim: 11 U.S.C. § 507(a) ( ) -
2. | Priority creditor's name and mailing address $
As of the petition filing date, the claim is:
Check all that apply.
%) Contingent
%o_Unliquidated
%o Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number %Ll No
Specify Code subsection of PRIORITY unsecured a Yes
claim: 11 U.S.C. § 507(a) ( )
2. | Priority creditor's name and mailing address $

 

 

 

page 2 of 23000" ~

 
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Case 17-10679-LSS
Mad Catz, Inc.

Name

Doc13 Filed 04/06/17 Page 32 of 60

17-10679(KG)

Debtor Case number (ir known)

Ea List All Creditors with NONPRIORITY Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. {f the debtor has more than 6 creditors with nonpriority
unsecured claims, fill out and attach the Additional Page of Part 2. . a .
Amount of claim. :
B.4| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 6,333.98
1080 Partners LLC , Check all that apply. [aires
ul Contingent
j ‘ Untiquidated
113 Wild Horse Valley Drive O) Disputed
Novato, CA 94947-3615
Basis for the claim:
Date or dates debt was incurred 1/31/2017 Is the claim subject to offset?
i No
Last 4 digits of account number ee QO Yes
.2| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 5 18,698.70
Acosta Sales & Marketing Check all that apply. TT
Contingent
Unliquidated
6600 Corporate Center Parkway ( Disputed
Jacksonville, FL 32216-0973
Basis for the claim: trade
Date or dates debt was incurred 1/25/2017 Is the claim subject to offset?
mM No
Last 4 digits of account number ee ) Yes
13.3| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 199.56
ADP Check ail that apply. $ >
QO Contingent
P.O. Box 31001-1874 1 Unliquidated
Q Disputed
Pasadena, CA 91110-1874
Basis for the claim: trade
Date or dates debt was incurred 3/24/2017 Is the claim subject to offset?
No
Last 4 digits of account number oe QO) Yes
3.4| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 458.42
ADP, LLC Check all that apply. $e
U2 Contingent
P.O. Box 31001-1874 C1 Uniiquidated
QO Disputed
Pasadena, CA 91110-1874 /
Basis for the claim: trade
Date or dates debt was incurred 3/17/2017 Is the claim subject to offset?
fl No :
Last 4 digits of account number ee CJ Yes
3.5] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $ 2,196.46
Automatic Data Processing Inc. Check ail that apply.
O Contingent
P.O. Box 31001-1874 a Unliquidated
Disputed
Pasadena, CA 91110-1874 P
Basis for the claim: trade
Date or dates debt was incurred 2/10/2017 — 3/3/2017 Is the claim subject to offset?
@ No
Last 4 digits of account number _ {] Yes
3.6} Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 2 284.80
Am3D A/S Check ail that apply. ‘ee
CI Contingent
Riihimakivej 6 a Unliquidated
Disputed
DK-9200 Aalborg P
Basis for the claim: trade
Date or dates debt was incurred 42/31/2016 Is the claim subject to offset?
ON
Last 4 digits of account number ee O Yes

 

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 3 of 23
Mad Catvag@ 17-10679-LSS Doc13 Filed 04/06/17 Page 47.699 xe)

Case number (it known)

Debtor

 

Name

Additional Page 4

 

  

a7 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 193.64
AmeriGas Check ail that apply. $
U1 Contingent

QO) unliquidated

 

 

P.O. Box 7155 O) Disputed
Q Liquidated and neither contingent nor
Pasadena, CA 91109-7155 disputed
Basis for the claim: trade
Date or dates debt was incurred 1/25/2017 a. claim subject to offset?
Oo
Last 4 digits of account number —_— Q) ves

» Amount of claim ..-

 

3.8 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: ; 45,000.00

 

 

 

 

 

ANATIP PTE. LTD Check ail that apply.
a Contingent
Unliquidated
Level 10, 55 Market Street Disputed
Singapore 048941 ; trade
Basis for the claim:
Date or dates debt was incurred n. claim subject to offset?
No
Last 4 digits of account number _ UO Yes
3.9 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 10,804.23
AT&T Check alf that apply. §
: Contingent
: Unliquidated
Payment Center O] Disputed

 

Sacramento, CA 95887-0001

 

 

 

 

 

 

 

 

 

 

 

 

Basis for the claim: trade
Date or dates debt was incurred en claim subject to offset?
[a
Last 4 digits of account number _ Q) Yes
. N . 2 dit 1 . .
S19} onpriority cree itor's name and mailing address As of the petition filing date, the claim is: 986.18
AT&T Mobility Check ail that apply. §
: Contingent
— Unliquidated
P.O. Box 6463 C2) disputed
Carol Stream, IL 60197-6463
: __, trade
Basis for the claim:
Date or dates debt was incurred 3/11/2017 ae claim subject to offset?
lo
Last 4 digits of account number et UO ves
3.11] Nonpriority creditor's na nd maili ddre:
P iy me ° maning adcress As of the petition filing date, the claim is: 10,000.00
Bandai Namco Entertainment Check ail that apply. §
a Contingent
-37- i Unliquidated
5-37-8 Shiba Cl Disputed
Tokyo 108-0014
’ Basis for the claim: trade
Date or dates debt was incurred 2/7/2017 a. claim subject to offset?
io
Last 4 digits of account number _ OQ) Yes
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims

page 4 of

 

23
 

 

Case 17-10679-LSS

Debtor Mad Catz, Inc.

ee
Doc 13 Filed 04/06/17 Page

Case number (if known),

 

Name

(a * Additional Page )

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: ‘Previous page. II if no additional NONPRIORITY creditors exist, do. not fill out or ‘submit this page.

 

 

 

 

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34 of 60
17-10679 (KG)

 

Amount of claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.12] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 1.659.01
Brask Enterprises Inc. On all that apply. s
Contingent
Q) Unliquidated
P.O. Box 55287 Q Disputed
QO) Liquidated and neither contingent nor
Houston, TX 77255-5287 disputed
Basis for the claim: trade
’ Date or dates debt was incurred 11/2017-2/24/2017 a claim subject to offset?
No
Last 4 digits of account number oe UO Yes
.13] N iorit ditor d ili
8 3| onpriority creditor's name and mailing address As of the petition filing date, the claim is: 1,137.84
California Packaging Check all that apply. §
a Contingent
. Unliquidated
845 N. Euclid Avenue Q Disputed
Ontario, CA 91762 / __ trade
Basis for the claim:
Date or dates debt was incurred 12/28/2016 ns claim subject to offset?
No
Last 4 digits of account number ee UL Yes
N iorit ditor’ d ili
3.14] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 54,298.39
California Cross Dock , Check ail that apply. $
a Contingent
i Unliquidated
401 Palmyrita Avenue O Disputed
Riverside, CA 92507 ; __ trade
Basis forthe claim: 7
Date or dates debt was incurred 2/6/17-3/20/17 a. claim subject to offset?
No
Last 4 digits of account number _ UO yes
3.15] Nonpriority creditor's name and mailing address .
P ¥ 9 As of the petition filing date, the claim is: 68,188.74
Capcom USA Inc. Check ail that apply. $
| Contingent
5 e Unliquidated
185 Berry Street O Disputed
San Francisco, CA 94107
. _. trade
Basis for the claim:
Date or dates debt was incurred 12/31/2016 a. claim subject to offset?
No
Last 4 digits of account number _ QO) Yes
3.16] Nonpriority creditor's name and mailing address
P ¥ . 9 As of the petition filing date, the claim is: 199.99
Meryem Choubaili Check ail that apply. 5.
OU Contingent
20683 Cutwater Place C1 Unliquidated
oO Disputed
Sterling, CA 20165 ; __ trade
Basis for the claim: ~~
Date or dates debt was incurred 4/20/2016 a claim subject to offset?
No
Last 4 digits of account number ee Q) Yes

 

 

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 5 of 23
   

Case 17-10679-LSS ~ Doc 13 Filed 04/06/17 Page 35 of 60
Mad Catz, Inc. 17-10679 (KG)

Debior Case number (if known),
Name

ead eon Page ij

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S revious page. If fr no additional NONPRIORITY creditors, exist, do not fill out or submit this Page: /

 

   

Amount of claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.17] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 207.20
Check all that apply. $ .
Coffee Ambassador, Inc. .
QU Contingent
C1 unliquidated
11578 Sorrento Valley Road Q Disputed ;
Ol Liquidated and neither contingent nor
San Diego, CA 92121 disputed
Basis for the claim: tax
Date or dates debt was incurred 2/9/2017 n. claim subject to offset?
Na
Last 4 digits of account number ee UO Yes
. N iori ditor ili
3.18] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 10/1/16-3/28/17
Commonwealth of Virginia Check ail that apply. §
5 Contingent
. : Unliquidated
Tax office of Customer Services, P.O. Box 1115 O Disputed
Richmond, VA 23218-1115
. __. tax
Basis for the claim:
Date or dates debt was incurred 10/1/16-3/28/17 ms, claim subject to offset?
No
Last 4 digits of account number ee U Yes
3.19| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 79.05
Complete Office . Check ail that apply. §
(3 Contingent
Tax office of Customer Services, P.O. Box 1115 LI Unliquidated
os Q Disputed
4 Richmond, VA 23218-1115
. _. trade
4 Basis for the claim:
| Date or dates debt was incurred 2/28/2017 Is the claim subject to offset?
a @ No
: Last 4 digits of account number ee Q) Yes
3.20] Nonpriority creditor's name and mailing address , :
3.20| P y ' ming As of the petition filing date, the claim is: 1,873.53
Corodata Records Management Inc. Check ail that apply. §
= Contingent
.O. Box 84 Unliquidated
P.O xX 842638 O) Disputed
Los Angeles, CA 90084-2638
. __. trade
Basis for the claim:
Date or dates debt was incurred 216/2017-3/20/2017 On claim subject to offset?
No
Last 4 digits of account number ee QQ Yes
3.21] Nonpriority creditor's name and mailing address
3.21] P Y . ming As of the petition filing date, the claim is: 98.00
Corodata Shredding Inc. Check all that apply. $
a Contingent
Unliquidated
P.O. Box 846137 O) Disputed
Los Angeles, CA 90084-6137
. __, trade
Basis for the claim:
Date or dates debt was incurred 1/31/2017 & 2/28/20 a claim subject to offset?
No
Last 4 digits of account number ee QO) Yes

 

 

 

 

 

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ocaece Spa ce Amount of claim
additional NONPRIORITY. cre Te
3.22] Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 2756.78
Check ail that apply. 5”
Department of Revenue .
(2 Contingent
1 unliquidated
500 Deaderick St. C) Disputed
CY Liquidated and neither contingent nor
Nashville, Tennessee 37242-1099 disputed
Basis for the claim: tax
Date or dates debt was incurred 10/1/2016-3/28/2017 ns claim subject to offset?
io
Last 4 digits of account number _ Q) Yes
| . itor :
3.23| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 1,510,293
Dexin Corporation Check aif that apply. $
- a Contingent
. Unliquidated
14F-B No. 258 Lian Cheung Road OQ Disputed
Taipei Hsien, Taiwan
Basis for the claim: trade
46-2/28/2 ; :
Date or dates debt was incurred 10/3112016-2/26/2017 nn claim subject to offset?
lo
Last 4 digits of account number ee Q) Yes
3.24] Nonpriority creditors name and mailing address As of the petition filing date, the claim is: 38,623.53
Dolby Laboratories Licensing Corp Check ail that apply. §.
, a Contingent
Unliquidated
100 Potrero Avenue O Disputed
San Francisco, CA 94103 trade
: Basis forthe claim:
Date or dates debt was incurred 12/31/2016 a claim subject to offset?
lo
Last 4 digits of account number _ QO Yes
. N oe itor’ . . .
.25| onpriority credito s name and mailing address As of the petition filing date, the claim is: 9,600.00
Donnelley Financial Solutions Check aif that apply. $
a Contingent
Unliquidated
P.O. Box 842282 © Disputed
Boston, MA 02284-2282 :
Basis for the claim: trade
017 i i
Date or dates debt was incurred 12/20/2016-2/28/2 a. claim subject to offset?
lo
Last 4 digits of account number _ UO Yes
. N iort ditor’ d maili ddi
3.26 onpriority eres Nor $ name ane mating adaress As of the petition filing date, the claim is: 7,774.80
DTS Licensing Limited Check ail that apply. . $
a Contingent
. Unliquidated
5220 Las Virgenes Road O Disputed
Calabasas, CA 91302
Basis for the claim: trade
Date or dates debt was incurred 12/31/2016 a claim subject to offset?
lo
Last 4 digits of account number _ QO Yes

 

 

 

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_ Amount of claim —
3.27| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 5 063.00
Durham Jones & Pinegar Check ail that apply. $s _____§_——
(2 Contingent
Q) unliquidated
192 East 200 N., 3 Floor Q) Disputed
(2 Liquidated and neither contingent nor
St. George, UT 84770 disputed
Basis for the claim: trade
Date or dates debt was incurred 2/16/2017-3/9/2017 Bs claim subject to offset?
io
Last 4 digits of account number _ QO yes
iori - a:
3.28] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 280.00
ED! Specialists Inc. Check all that apply. $n
a Contingent
. . Unliquidated
62997 Collection Center Drive OQ Disputed
Chicago, IL 60693-0629 ; __ trade
Basis for the claim:
Date or dates debt was incurred 2/4/2017 we claim subject to offset?
No
Last 4 digits of account number ee QO Yes
3.29| Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 780.74
Federal Express Corporation Check ail that apply. &
a Contingent
Unfiquidated
P.O. Box 7221 C2 Disputed
Pasadena, CA 91109-7321
. __, trade
Basis for the claim:
Date or dates debt was incurred 91/2017 & 2/28/2017 ns claim subject to offset?
No
Last 4 digits of account number _ OC) Yes
.30] Nonpriority creditor's name and mailing add :
.30] onpriority creeivor's name and maning address As of the petition filing date, the claim is: 1,715.41
Florida Department of Revenue Check ail that apply. 8
QO Contingent
5050 West Tennessee Street a Unliquidated
Disputed
Tallahassee, FL 32399-0120 t
. » (ax
Basis for the claim:
Date or dates debt was incurred 3/31/2017 ae claim subject to offset?
No
Last 4 digits of account number —_— O Yes
3.31] Nonpriority creditor's name and mailing add
priority morsn ming adcress As of the petition filing date, the claim is: 70,224.91
FMT Consultants LLC Check aif that apply. 3
(2) Contingent
2310 Camino Vida Roble CI Uniiquidated
Disputed
Carlsbad, CA 92011 — trade
Basis for the claim:
Date or dates debt was incurred 12/21/2016 ~ 3/18/2017 as claim subject to offset?
No
Last 4 digits of account number ee O) Yes

 

 

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Amount of claim
3.32| Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 4265.20
i Check aif that apply. $_” :
Franchise Tax Board .
(1 Contingent
2 unliquidated
State of California 1 Disputed ;
(1 Liquidated and neither contingent nor
Sacramento, CA 94257-0531 disputed
Basis for the claim: trade
Date or dates debt was incurred 2l27i2017 is the claim subject to offset?
No
Last 4 digits of account number ee O Yes
: N iorit ditor’: d miaili
3.33] Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 2,264.63
Freeform Check ail that apply. $
a Contingent
. Unliquidated
8375 Camino Santa Fe O) Disputed
San Diego, CA 92121 ; trade
Basis for the claim:
Date or dates debt was incurred 1/30/2017 fn claim subject to offset?
No
Last 4 digits of account number ee Q) yes
3.341 Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 4,208.1 5
GetGo Inc.. Check ail that apply. 5
“ i Contingent
Unliquidated
P.O. Box 50264 O) Disputed
Los Angeles, CA 90074-0264
. _. trade
Basis for the claim:
Date or dates debt was incurred 2118/2017 & 3148/2017 ms claim subject to offset?
lo
Last 4 digits of account number _ ) Yes
3.35| Nonpriority creditor’s name and mailing add ‘ .
3.35] P iy : mo : me maling aderess As of the petition filing date, the claim is: 1,470.00
GMI Building Services Inc. Check aif that apply. §
U1 Contingent
8001 Vickers Street L Unliquidated
Q) Disputed
San Diego, CA 92114
Basis for the claim: trade
Date or dates debt was incurred 1/40/2017 ns claim subject to offset?
No
Last 4 digits of account number _ CO Yes
3.36) Nonpriority creditor's name and mailing address ,
5.36) priority mng As of the petition filing date, the claim is: 12,175.61
Google Inc. Check ail that apply. §
i Contingent
Department 33654 Untiquidated
Pp C2 Disputed
San Francisco, CA 94139 ; __ trade
Basis for the claim:
Date or dates debt was incurred ee claim subject to offset?
No
Last 4 digits of account number _ O Yes

 

 

 

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. Amount of claim .
'3.37| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 8 500.00
GXS Inc Check aif that apply. $s :
: Contingent
QO) unliquidated
P.O. Box 640371 Q Disputed
() Liquidated and neither contingent nor
Pittsburgh, PA 15264-0371 disputed
Basis for the claim: trade
Date or dates debt was incurred 2/28/2017 Bs claim subject to offset?
No
Last 4 digits of account number _ C] Yes
: N ior ditor’ ili
3.38| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 250.12
HDMI Licensing LLC Check all that apply. 8
a Contingent
1 . Unliquidated
2115 O’Nel Drive O Disputed
San Jose, CA 95131 trade
Basis for the claim:
Date or dates debt was incurred 12/31/2016 E. claim subject to offset?
No
Last 4 digits of account number ee Q) Yes
3.39] Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: 9,891.55
Kmart - Check all that apply. $
- i Contingent
Unliquidated
c/o Lavante Inc. Ol disputed
San Jose, CA 95160
Basis for the claim: trade
Date or dates debt was incurred 6/23/2015 ae claim subject to offset?
No
Last 4 digits of account number _ O Yes
3.40] Nonpriority creditor's name and mailing add ‘
3.40] P y mean 9 aciaress As of the petition filing date, the claim is: 205,500.00
KPMG LLP Check all that apply. §
1 Contingent
Dept. Unliquidated
ept 0922 U) Disputed
Dallas, TX 75312-09222
: _. trade
Basis for the claim:
Date or dates debt was incurred (2/12/2016 - 2113/2017 By claim subject to offset?
No
Last 4 digits of account number _ 2 Yes
3.41] Nonpriority creditor's name and mailing address
3.4) priority 9 As of the petition filing date, the claim is: 5,203.26
Lei Customs Brokers !nc. Check ail that apply. §
{) Contingent
456 Humber Place Q) Untiquidated
(J Disputed
New Westminster, BC V3M 6A5
. .. trade
Basis for the claim:
Date or dates debt was incurred 2/9/2017 - 3/14/2017 ae claim subject to offset?
No
Last 4 digits of account number _ Yes

 

 

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‘Amount of claim

3.42] Nonpriority creditor's name and mailing address As of the petition filing date, the claimis: 768 160.54
. . Check ail that apply. So
Mad Catz Interactive Asia Ltd .

QQ Contingent
O Unliquidated

 

 

 

- Unit 19-20, 15/F, Tower 2, Grand Ceniral Plaza, 138 Shatin Rural Comm Rd Q) Disputed
2) Liquidated and neither contingent nor
New Territories, Hong Kong disputed
Basis for the claim: trade
Date or dates debt was incurred 5/9/2016 - 3/16/2017 n claim subject to offset?
io
Last 4 digits of account number eee O Yes

 

3.43| Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: ; 4,990,676

 

Mad Catz Europe Check all that apply.
- a Contingent
1 & 2 Shenley Pavilions, Chalkdell Drive QO Dieputed ted

 

Milton Keynes, Buckinghamshire MK5 6LB

 

Basis for the claim: trade
2 ~ 341 7 ii i
Date or dates debt was incurred v2ti2016 - 139/204 BR. ctaim subject to offset?
No
Last 4 digits of account number _ 1 Yes

 

3.44] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: $ 158,319.83

 

Mad Catz Japan , Check ail that apply.
= a Cantingent
di Unliquidated
Sakura Building, 3rd Floor CO disputed

 

Tokyo, Japan 158-0097

Basis for the claim: trade

41/16/2016 - 1/20/2017

Date or dates debt was incurred Is the claim subject to offset?

 

@ No
Last 4 digits of account number ee U yes
.45| N iori ditor’: ili . .
3.45] onpriority creditor's name and mailing address As of the petition filing date, the claim is: 0.00
INTENTIONALLY LEFT BLANK Check alf that apply. $.

 

CJ Contingent
Q) Unliquidated

 

 

 

 

 

Q) Disputed
Basis for the claim: trade
Date or dates debt was incurred a ctaim subject to offset?
(
Last 4 digits of account number _— Oi yes
3.46] Nonpriority creditor's name and mailing address
.46| Priority mung As of the petition filing date, the claim is: 1,587.08
MHL, LLC Check all that apply. $
i Contingent
, A Unliquidated
2115 O'Nel Drive OO Disputed
San Jose, CA 95131 trade

 

Basis for the claim:

9/30/2016 & 12/31/2016 Js the claim subject to offset?
—— No
Last 4 digits of account number QO) Yes

Date or dates debt was incurred

 

 

 

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3.47| Nonpriority creditor's name and mailing addre

 

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at

 

 

 

c/o Rossmore Enterprises

2 Contingent
O) Untiquidated
(2 Disputed

 

Aspen, CO 81611

Date or dates debt was incurred

Last 4 digits of account number

 

Basis for the claim: tax

1/1/2017 - 3/31/2017 Is the claim subject to offset?

fl No
OQ yes

 

As of the petition filing date, the claim is: 2 816.07
Microsoft Corporation Check ail that apply. $
Q) Contingent
1 unliquidated
P.O. Box 842103 a Disputed
(2 Liquidated and neither contingent nor
Dallas, TX 75282-2103 disputed
Basis for the claim: trade
Date or dates debt was incurred 3/14/2017 a. claim subject to offset?
lo
Last 4 digits of account number ee Q) Yes
| 7 di di maili
3.48| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 819,490.56
Microsoft Licensing GP Check all that apply. $
a Contingent
. Unliquidated
6100 Neil Road O Disputed
Reno, NV 89511-1132 ; __ trade
Basis for the claim:
Date or dates debt was incurred 12/31/2016 a claim subject to offset?
io
Last 4 digits of account number _ QO) Yes
3.49| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 28,158.14
MIQ Global LLC Check ail that apply. §
- a Contingent
. . Unliquidated
32344 Collection Center Drive O) Disputed
Chicago, IL 60693-0323 ; ___ trade
. Basis for the claim:
Date or dates debt was incurred 4/13/2016 - 7/26/2016 a. claim subject to offset?
No
Last 4 digits of account number _ QO yes
3.50] Nonpriori ditor's n id maili dd ‘
3.50| onpriority crecitor's name and malling aeeress As of the petition filing date, the claim is: 228,603.15
Mode Transportation LLC Check aif that apply. §
4 Contingent
Unliquidated
P.O. Box 71188 C2 Disputed
Chicago, IL 60694-1188
Basis for the claim: trade
Date or dates debt was incurred 12/16/2016 - 3/24/2017 ae claim subject to offset?
No
Last 4 digits of account number _ QO) Yes
3.51| Nonpriority creditor's name and mailing address
3.54} P y ming As of the petition filing date, the claim is: 174.40
Nevada Dept of Revenue Check ail that apply. §

 

 

 

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= | previous: page. If it no > additional NONPRIORITY ¢ creditors exi

3.52| Nonpriority creditor's name and mailing addre

 

 

 

 

: Copy. thi: ‘page only if more space’ is: needed. Continue t nun bering ‘the | lines sequentially from t the. 2 : :
do: not fill out or F submit this page. Cee:

 

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Amount of claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2225 American Drive

 

Neenah, WI 54956-1005

 

3/16/17

Date or dates debt was incurred

 

Last 4 digits of account number

 

Check ail that apply.
) Contingent
QO) unliquidated

Q Disputed

Basis for the claim: trade

 

As of the petition filing date, the claim is: 56.034.56
. Check aif that apply. $7 :
Nevada Business Park LLC .
- ( Contingent
QO) Unliquidated
c/o Rossmore Enterprises, 605 E. Main Street, Ste 7 OY Disputed ;
QO Liquidated and neither contingent nor
Aspen, CO 81611 disputed
Basis for the claim: trade
Date or dates debt was incurred 2141/2017 & 3/1/2017 a. claim subject to offset?
No
Last 4 digits of account number _ QO Yes
53] N iorit ditor’ id maili id
3.53] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 930.00
P&T Law APC Check all that apply. $
a Contingent
Unliquidated
1645 Emerald Street O Disputed
San Diego, CA 92109 trade
Basis for the claim:
_ Date or dates debt was incurred 2ITIVT & 3/17 a claim subject to offset?
No
Last 4 digits of account number _ U Yes
jorit ditor’ d maili
3.54] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 355,367.22
Pegasus Logistics Group Inc Check ail that apply. §
: a Contingent
oe . Unliquidated
306 Airline Drive O) Disputed
Coppell, TX 75019 ; trade
Basis for the claim:
12/16/2016 - 2/28/2017 1 i
Date or dates debt was incurred 16/2016 - 2/28/20 a. claim subject to offset?
No
Last 4 digits of account number _ Ul Yes
3.55] Nonpriority creditor's name and mailing address :
np ty _ 9 As of the petition filing date, the claim is: 1,725.00
Elizabeth Pieri Check all that apply. $
5 Contingent
4316 Rancho ne Unliquidated
316 Rancho La Q) Disputed
Thousand Oaks, CA 91362 trade
Basis for the claim:
Date or dates debt was incurred ae claim subject to offset?
No
Last 4 digits of account number _ Ul Yes
'3.56| Nonpriority creditor's name and mailing address
3.56| ; P y g As of the petition filing date, the claim is: 100.00
Pitney Bowes §

 

Is the claim subject to offset?
No
O) Yes

 

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129 Samsung-ro

 

Gyunggi-do 443-742 Korea

Date or dates debt was incurred

Last 4 digits of account number

12/31/2016

Check aif that apply.
QO Contingent
QO) Untiquidated
OQ Disputed

Basis for the claim: trade

3.57] Nonpriarity creditor's name and mailing addres As of the petition filing date, the claim is: 6,109.84
Public Special Inc. Check aif that apply. $l
(2 Contingent
O) Uniiquidated
3147 Progress Circle C) Disputed . .
() Liquidated and neither contingent nor
Mira Loma, CA 91752 disputed
Basis for the claim: trade
Date or dates debt was incurred V2si20t7 - 3114/2017 a claim subject to offset?
— No
Last 4 digits of account number _ Q) ves
3.58] Ni riority creditor’ d maili
onpriority creditor's name and mailing address As of the petition filing date, the claim is: 52.22
Pure Flo Water Check all that apply. $n
C] Contingent
es Unliquidated
7737 Mission Gorge Road Q disputed
Santee, CA 92071-3306 / __ trade
Basis for the claim:
Date or dates debt was incurred 2/28/2017 n claim subject to offset?
No
Last 4 digits of account number ee Yes
3. N iorit ditor’: ili
59| Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 448.70
Pure Water Partners . Check ail that apply. $n
= a Contingent
Unliquidated
Dept CH 19648 O isnuted
Palatine, IL 60055-9648 ; __ trade
Basis for the claim:
Date or dates debt was incurred 3/8/2017 mn claim subject to offset?
a
Last 4 digits of account number _ O) Yes
3.60] Nonpriority creditor's name and mailing add
5.60] P . ity _.. mng a ares As of the petition filing date, the claim is: 1,377.00
Railsimulator.com Limited (Dovetail Games) Check aif that apply. So
U) Contingent
The rvat h Hee Unliquidated
Observatory, Chatham Maritime O) pisputed
ME4 4NT United Kingdom trade
Basis for the claim:
Date or dates deht was incurred 10/31/2016 ae claim subject to offset?
No
Last 4 digits of account number _ QO) Yes
3.61| Nonpriority creditor's name and mailing address
S64] priority . 9 As of the petition filing date, the claim is: 3,024.59
Samsung Electronics Co Ltd §

 

Is the claim subject to offset?
No
OQ) yes

 

 

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Amount of claim:
3.62| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 2 881.22
SDGE Check alf that apply. $_”” :
QO) Contingent
QO unliquidated
P.O. Box 25111 O) Disputed
LI liquidated and neither contingent nor
Santa Ana, CA 92799-5111 disputed
Basis for the claim: trade
Date or dates debt was incurred 3/30/2017 n claim subject to offset?
jo
Last 4 digits of account number ee QO ves
| N oe ai ae
3,63} Nonpriority creditors name and mailing address As of the petition filing date, the claim is: 96,953.14
Shenzhen Horn Audio Co Ltd Check aif that apply. §
a Contingent
. Unliquidated
No. 6 4th Guihua Road Ci Disputed
ShenZhen, China 518118
Basis for the claim: trade
Date or dates debt was incurred 8/17/2016-8/31/2016 n claim subject to offset?
No
Last 4 digits of account number ee UO Yes
3.64| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 179,469.78
Smith Transportation Services Inc. Check all that apply. 8
+ | Contingent
. . Unliquidated
12717 West Sunrise Blvd C2 Disputed
Sunrise, FL 33323-0902
Basis for the claim: trade
Date or dates debt was incurred 12/2/2016 - 3/3/2017 ns claim subject to offset?
lo
Last 4 digits of account number _ Q) Yes
3.65} Nonpriority creditor's and mailing add
5} Nonpriority - name ; mating & ress As of the petition filing date, the claim is: 42,015.68
Sony Interactive Entertainment America LLC Check ail that apply. §
a Contingent
Bri : Unliquidated
2207 Bridgepointe Parkway O Disputed
San Mateo, CA 94404-5060 trade
Basis for the claim:
Date or dates debt was incurred 12/31/2016 ns claim subject to offset?
No
Last 4 digits of account number _ QO) Yes
3.66| Nonpriority creditor's name and mailing address
5.66] Priority 9 As of the petition filing date, the claim is: 634.00
SPS Commerce Check afl that apply. §
a Contingent
.O. Box 8 Uniiquidated
P ox 205782 O) Disputed
Dallas, TX 75320-5782
Basis for the claim: trade
Date or dates debt was incurred 211712017 & 3/17/2017 an claim subject to offset?
No
Last 4 digits of account number _ OQ) Yes

 

 

 

 

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Amount of ciaim |
3.67] Nonpriority creditor's name and mailing addre As of the petition filing date, the claim is: 6,911.28
: Check aif that apply. $— :
Staff Holdings Inc. O) Contingent
1 unliquidated
P.O. Box 202056 Q) Disputed
( Liquidated and neither contingent nor
Dallas, TX 75320-2056 disputed
. Basis for the claim: trade
Date or dates debt was incurred Wai2017-1/2212017 ni claim subject to offset?
oO
Last 4 digits of account number ee QO Yes
3.68] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 349.11
Staples Advantage Check all that apply. 5,
5 Contingent
Unliquidated
Dept. LA U) Disputed
Chicago, IL 60696-3689 ; ___ trade
Basis for the claim:
Date or dates debt was incurred W2TI2017 - 2/10/2017 Bs claim subject to offset?
No
Last 4 digits of account number ee QQ Yes
N oe . n
'3.69| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 2,189.77
State Board of Equalization Check ail that apply. §
: a Contingent
Uniiquidated
P.O. Box 942879 Ol piepted
Sacramento, CA 94279-3535 tax
Basis for the claim:
Date or dates debt was incurred ns claim subject to offset?
, No
Last 4 digits of account number _ C1 Yes
3.70] Nonpriority creditor's nam: id maili ddres
3.70] Priority mo © ane! mating address As of the petition filing date, the claim is: 67,796.48
State Comptroller Check all that apply. §
Q) Contingent
Texas Comptroller Public Accts, 111 East 17th Street OQ) Uniiquidated
UO Disputed
Austin, TX 78774-0100 tax
Basis for the claim:
Date or dates debt was incurred 3/2017 a. claim subject to offset?
No
Last 4 digits of account number _ U] Yes
3.71] Nonpriority creditor's name and mailing add
3.71] P : 'Y 9 address As of the petition filing date, the claim is: 90.00
Terminix Check ail that apply. $
a Contingent
tai i Unliquidated
rmin
Te ix Processing Center O) Disputed
Cincinnati, OH 45274-2592 trade
Basis for the claim:
Date or dates debt was incurred 12/15/2016 a claim subject to offset?
Na
Last 4 digits of account number _ Ql Yes

 

 

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 16 of 23
 

Debtor

ood 1 i

Mad Catz, Inc.

Sd 4 i

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Case number (ifkown)

 

Name

art 2 | Additional Page ;

 
  

 

 

 

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17-10679 (KG)

of od

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim So
3.72] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 4.000.006
Thomson Reuters - West Check all that apply. §
QO) Contingent
a Unliquidated
Payment Center Disputed
¥ (1 Liquidated and neither contingent nor
Carol Stream, !L 60197-6292 disputed
Basis for the claim: trade
Date or dates debt was incurred 2/1/2017 & 3/1/2017 Bs claim subject to offset?
No
Last 4 digits of account number ee OO Yes
. | iori ditor’ ili . a we
3.73} Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: 8,837.90
THQ Inc. Check aif that apply. §
a Contingent
Unliquidated
29903.Agoura Road © Disputed
Agoura Hills, CA 91301-2513
. _. trade
Basis for the claim:
Date or dates debt was incurred 10/18/2012 & 1/25/2013 ae claim subject to offset?
No
Last 4 digits of account number oe O Yes
3.74) Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 677.03
Toyota Industries Commercial Finance Check all that apply. &
a Contingent
Untiquidated
Dept 2431 O disputed
Carol Stream, IL 60132-2431
. ._. trade
Basis for the claim:
Date or dates debt was incurred 2/6/2017 a. claim subject to offset?
io
Last 4 digits of account number . _ U yes
3. N jori ditor’ d ili dd :
3.75| onpriority cre : or’s name and mailing address As of the petition filing date, the claim is: 123.35
TPP 212 Scripps LLC Check aif that apply. §
) Contingent
clo Cushman & Wakefield C1 Uniiquidated
Q) Disputed
Los Angeles, CA 90051-7890 trade
Basis for the claim:
Date or dates debt was incurred 3/1/2017 eB . claim subject to offset?
No
Last 4 digits of account number ee QO) Yes
3.76] Nonpriority creditor’s name and mailing address
3.76] P ¥ . g As of the petition filing date, the claim is: 200,000.00
Twitch Interactive Inc. Check all that apply. $
Q} Contingent
225 Bush Street LI Uniiquidated
QO Disputed
San Francisco, CA 94104
Basis for the claim: trade
Date or dates debt was incurred Gn claim subject to offset?
No
Last 4 digits of account number _ ) Yes

 

 

 

Official Form 206E/F

Schedute E/F: Creditors Who Have Unsecured Claims

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foe co es]
Case 17-10679-LSS

Debtor Mad Catz, Inc.

oe | | Seeeshiee as] |
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Case number (it known)

 

Name

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17-10679 (KG)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount of claim
3.77| Nonpriority creditor's name and mailing addre As of the petition filing date, the claim is: 2150.47
In rat ‘ Check aif that apply. $
Tyco Integrated Security LLC C) Contingent
QO) unliquidated
P.O. Box 371967 C1 Disputed
O) Liquidated and neither contingent nor
Pittsburgh, PA 15250-7967 disputed
Basis for the claim: trade
Date or dates debt was incurred 2/15/2017 nn claim subject to offset?
lo
Last 4 digits of account number ee QO Yes
: N tori ditor ii . .
3 73| onpriority creditor's name and mailing address As of the petition filing date, the claim is: 2,798.20
U.S. Bank Equipment Finance Inc. Check all that apply. &
a Contingent
Unliquidated
P.O. Box 790448 O Disputed
St. Louis, MO 63179-0448 ; __ trade
Basis for the claim:
Date or dates debt was incurred 3/22/2017 ns claim subject to offset?
No
Last 4 digits of account number _ Ql) Yes
3.79} Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 62,362.28
United Healthcare Insurance Co Check all that apply. $
- a Contingent
Unliquidated
PO Box 843118 O disputed
Los Angeles, CA 90084 ; __ trade
Basis for the claim:
Date or dates debt was incurred 5/1/2017 - 2/28/2018 a claim subject to offset?
. No
Last 4 digits of account number ee O Yes
3.80] Nonpriari ditor’s na id maili ddi
3.80] nero ty cre ; 9 me and mailing address As of the petition filing date, the claim is: 2,843.89
Verizon Business Check all that apply. §
. Contingent
Unliquidated
A. xX
P.O. Box 15043 ©) Disputed
Albany, NY 12212-5043
Basis for the claim: trade
Date or dates debt was incurred 3/8/2017 n claim subject to offset?
No
Last 4 digits of account number _ O Yes
3.81| Nonpriority creditor's name and mailing addre:
3.81] P . ity . ; 9 ss As of the petition filing date, the claim is: 1,626.30
VIA Licensing Corporation Check all that apply. $e
a Contingent
4275 M tr Unliquidated
275 Market Street O) Disputed
San Francisco, CA 94103 trade
Basis forthe claim:
Date or dates debt was incurred 1ON6/2016 & 12/31/2016 aN claim subject to offset?
No
Last 4 digits of account number ee QO Yes

 

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Mad Catz, ase 17-10679-LSS Doc13_ Filed 04/06/17 — Page 48raIi06®e (KG)

Debtor ase number (it Kiown)

 

Name

Rar 2: Additional Page

Copy this page only if more space is needed. Continue numbering the lines séquenttially from the

: : he any Amount of claim
’ previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit:this page.

3.82] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 4561.25
: : Check ail that apply. $_ :
Voice Age Corporation O Contingent
Q) Uniiquidated

 

 

 

 

750 Chemin Lucerne Q Disputed
Q) Liquidated and neither contingent nor
Montreal, Quebec H3R 2H6 disputed
Basis for the claim: trade
Date or dates debt was incurred 1/19/2017 a claim subject to offset?
jo
Last 4 digits of account number _ U ves

 

3.83| Nonpriority creditor's name and mailing address

 

 

 

As of the petition filing date, the claim is: 5 55,440.00
Voyetra Turtle Beach, Inc. Check ail that apply.

Q) Contingent

' LJ Unliquidated

 

 

 

 

i 100 Summit Lake Drive O) Disputed
Valhalla, NY 10595
Basis for the claim: trade
Date or dates debt was incurred 3/13/2017 Bs claim subject to offset?
i lo
i Last 4 digits of account number _ QO Yes

 

3.84| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: ; 23.99

 

 

 

 

Wright Gift Company II LLC pees at tat apply

6180 Haas Street B peuiates

La Mesa, CA 91942-4311 Basie for the claim: fade
Date or dates debt was incurred 12/31/2016 2 subject to offset?
Last 4 digits of account number _ O ves

 

3.85] Nonpriority creditor's name and mailing address |
5.85] Priority 9 As of the petition filing date, the claimis: 904.81

 

 

 

Warren Packaging Check ail that apply.
| Contingent
7 i Unliquidated
1722 E. Grevillea Ct O disputed

Ontario, CA 91761

 

Basis for the claim: trade
Date or dates debt was incurred 3/7/2017 . claim subject to offset?
No
Last 4 digits of account number ee UO) Yes

 

3.86| Nonpriority creditor's name and mailing address
86] P ¥ g As of the petition filing date, the claim is: $ 21,066.30

 

 

Darren Richardson Check all that apply.
Q) Contingent
1780 Kettner Blvd #708 i Uniiquidated
Disputed

 

San Diego, CA 92101

 

 

Basis for the claim: tax
Date or dates debt was incurred 2/5/16 a claim subject to offset?
No
Last 4 digits of account number ee QU Yes

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 19 of 23
 

cea] lo,

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Mad Catz, Inc.

Debtor

17-10679 (KG)

Case number (if known)

 

Name

ort 2: a Page

Fi

Copy this page only if more space is needed. Continue numbering the-tines sequentially from the
"_ previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.87| Nonpriority creditor's name and mailing address
Whitney Peterson

 

7724 Roan Road

 

San Diego, CA 92129

 

 

Amount of claim

As of the petition filing date, the claim is:
Check aif that apply.

3 90,329.30

 

LY Contingent

(J Unliquidated

QQ Disputed

(J Liquidated and neither contingent nor
disputed

Basis for the claim: tax

 

 

 

 

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

Date or dates debt was incurred 2/5/16 a claim subject to offset?
0
Last 4 digits of account number ee LJ Yes
. Nonpriority creditor’s n and mailing addre:
3._| Nonpriority creditor's name and mating adcress As of the petition filing date, the claim is:

Check ail that apply.

 

() Contingent
L) unliquidated
(2 Disputed

Basis for the claim:

 

Is the claim subject to offset?
CL) No
Yes

 

3. Nonpriority creditor's name and mailing address

 

 

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check all that apply. $

 

UO Contingent
Q) Unliquidated
LD Disputed

Basis for the claim:

 

is the claim subject to offset?
LJ No
Q) yes

 

 

3.__| Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check all that apply.

 

L) Contingent
QO Unliquidated
CL) Disputed

Basis for the claim:

 

Is the claim subject to offset?
0 No
Q) Yes

 

3.__| Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

 

As of the petition filing date, the claim is:
Check aif that apply. §

 

U) Contingent
Q) Unliquidated
(J) Disputed

Basis for the claim:

Is the claim subject to offset?
CL] No
LI ves

 

 

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 20 of 23

 
Debtor Mad Catz, t

ase 17-10679-LSS Doc13 Filed 04/06,

 

Name

on List Others to Be Notified About Unsecured Claims

4.1.

4.2.

 

 

43.

44.

1.

AS.

46.

47.

48.

4.9.

 

Name and mailing address

/17 Page5

Case number age

0704899 (KG)

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

On which line in Part 1 or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if

Line

 

L] Not listed.

 

Explain

any

 

 

Line

 

LY Not listed.

 

Explain

 

 

Line

 

 

(3 Not listed.

 

Explain

 

 

Line

 

{3 Not listed.

 

Explain

 

 

Line

 

 

 

L) Not listed.

Explain

 

 

Line

 

 

U) Not listed

 

. Explain

 

 

Line

 

 

 

L] Not listed.

Explain

 

 

Line

 

 

 

QL Not listed.

Explain

 

 

Line

 

 

 

{J Not listed.

Explain

 

 

Line

 

 

(J Not listed.

Explain

 

 

Line

 

 

 

LJ Not listed.

Explain

 

 

Line

 

 

 

L] Not listed.

Explain

 

 

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 21 of 23

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page. |
 

Name

Case 17-10679-L

Debtor Mad Catz, Inc.

Doc13 File

el | =
d 04/06/17 Page 51 of 6

Case number (if known) 17-10679 (KG)

Ee Additional Page for Others to Be Notified About Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name and mailing address On which line in Part.1 or:-Part 2 is the Last 4 digits of
related creditor (if any) listed? account number,
if any
A Line
UL) Not listed. Explain —_— — — —
4 Line
) Not listed. Explain —_— — —_— —
4. Line
(2 Not listed. Explain — — — —
4 Line
: () Not fisted. Explain —_— — — —
|
4 Line
Q1 Not listed. Explain —_——-— —
4A Line
:
LJ Not listed. Explain —_— —_ —
4 Line
C1 Not listed. Explain —_— — —
4 Line
QC) Notlisted. Explain —_—
4. Line
LJ Not listed. Explain — —_ — —
i
4 Line
() Notlisted. Explain — —_ — —
:
4_ Line |
CL) Not listed. Explain —_— —_— —_
4 Line
LC] Not listed. Explain —_— — —_ —
4. Line
LJ Not listed. Explain —_— — —_ —
4 Line
CL) Not listed. Explain ——

 

 

 

 

 

 

 

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Case 17-10679-LSS Doc13 Filed 04/06/17 Page 52 of 60
Mad Catz, Inc. 17-10679 (KG)

Debtor Case number (if known).
Name

ee Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Total of claim amounts

1,783,216.24

5a. Total claims from Part 1 5a.

 

, 1,306 828.69

5b. Total claims from Part 2 5b. OF

 

 

 

5c. Total of Parts 1 and 2 $ 9,090 044.93

: 5c.
Lines 5a + 5b = 5c.

 

 

 

 

 

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 23 of 23
4

Case 17-10679-LSS Doc

|

Fill in this information to identify the case:

Debtor name

Mad Catz, Inc.

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United States Bankruptcy Court for the:

Case number (if known):

17-10679 (KG)

District of

 

Delaware
(State)
Chapter 7

 

Official Form 206G

Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. !f more space

4. Does the debtor have any executory contracts or unexpired leases?

CO) Check if this is an
amended filing

12/15

is needed, copy and attach the additional page, numbering the entries consecutively.

OC No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
Form 206A/B).

J

2. List all contracts and unexpired leases © |

State the name and mailing address for all other parties with
. whom the debtor has an executory contract or unexpired lease .

 

 

 

 

 

 

 

 

of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

| State what the contract or AM3D AS AMS3D A/S

2.1{ lease is forand the nature = ANM3D bluecore 7 software Riihimakivej 6, KD-9200 Aalborg

of the debtor's interest

Denmark

State the term remaining 1/30/2018 Attn: Jacob N. Anderson

List the contract number of

any government contract -

State what the contract or Errors and Omissions Insurance Axis Surplus Insurance Company
2.2; lease is for and the nature

4111S. Wacker Drive, Suite 3500

 

41/1/2017

 

 

Chicago, INinois 60606

 

 

 

 

 

 

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

Warehouse Service Agreement
3PL Services

California Cross Dock, Inc.
401 Palmyrita Avenue

 

January 1, 2018

 

 

Riverside, CA 92507
Attn: Patrick Kelly

 

 

 

 

 

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Capcom Merchandise Licensing Agreement

Royalties for Street Fighter V

March 1, 2018

 

 

Capcom USA, Inc.
800 Concar Drive, Suite 175
San Mateo, CA 94402

 

 

 

 

,

 

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Coffee Machine Rental & Warranty

7 Months

 

Coffee Ambassador
11578 Sorrento Valley Road, Suite 30
San Diego, CA 92121

 

 

 

 

 

Official Form 206G

Schedule G: Executory Contracts and Unexpired Leases

page 1 of 5

 

 
Pp cl | foe SESE ep be hae ss Le mes]!
Case 17-10679-LSS Doc13 Filed 04/06/17 Page 54 of 60

Debtor Mad Catz, Inc.

Name

17-10679 (KG)

Case number (it known),

 

S| Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

   
     

- State the name.and mailing address for al! other parties with

List all contracts and unexpired leases par
. ! me, whom the debtor has an executory contract or. unexpired lease

 

 

State what the contract or Corodata Corodata San Diego
26 | lease is for and the nature 42375 Kerran Street
of the debtor's interest
Poway, CA 92064

 

State the term remaining Renews for 30 day periods

 

 

List the contract number of
any government contract

 

 

 

 

 

 

 

 

 

 

 

State what the contract or DTS Licensing Limited - DTS, Inc.

2.7| lease is for and the nature ‘ F
of the debtor's interest DTS audio technology royalty 5220 Las Virgenes Road

| ; Calabasas, CA 91302

State the term remaining April 1, 2020
List the contract number of
any government contract

- | State what the contract or Dolby Labs Licensing Corp - Dolby Laboratories Licensing Corporation

 

 

2.8} lease is for and the nature . : \ it A
_| of the debtor's interest Dolby Pro Logic 2 audio technology royalty 100 Potrero Corporation
- San Francisco, CA 94103-4813

 

State the term remaining Perpetual based on sales or affirmative

 

 

List the contract number of, termination
any government contract

 

 

 

State what the contract or RailSimulator.com Limited Dovetail Games
2.9} lease is for and the nature FSX Steam Edition The Observatory, Chatham Maritime
of the debtor's interest

—_ Chatham, Kent ME4 4NT
State the term remaining Automatically extends for a rolling 3 months.

 

 

 

 

 

List the contract number of unless terminated
any government contract

 

 

 

 

 

| State what the contract or -FMT Consultants FMT Consultants
2.1 lease is for and the nature ‘ ‘ : H| ‘
' A the debtor's interest Hosting Service 2310 Camino Vida Roble, Suite 104
— Carlsbad, CA 92011

 

State the term remaining 9/30/2017

 

List the contract number of
any government contract

 

 

 

 

 

 

7

State what the contract or Frontier Developments PLC Frontier Developments PLC
2.14] lease is for and the nature Elite Dangerous PC S/W code 306 Science Park
of the debtor’s interest
Milton Road, Cambridge CB4 OWG

 

 

 

State the term remaining Until 2000 codes are used

 

 

List the contract number of
any government contract

 

 

 

State what the contract or High-Definition Multimedia Interface (HDMI) HDMI Licensing, LLC

lease is for and the nature
of the debtor's interest

So

Ne
=
te.

Cable, Component, Connector, Repeater 1140 E. Arques Avenue, Suite 100
Sunnyvale, CA 94085-4602

 

“r
|
i

 

State the term remaining Automatic renewals for 5 year terms

 

 

List the contract number of
any government contract

 

 

 

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases page 2 of 5

 
Debtor

       

ex
a

|

Mad Catz, Inc.

Case 17-10679-LSS_ Doc13 Fil

 

Name

List all contracts and unexpired leases .

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

 

   

Asset Purchase Agreement

ed 04/06/17 Page 55 of 60

7:

17-10679 (KG)

Case number (itknown)

‘ State the-name and mailing address for all other parties with
. whom the debtor has an executory contract or unexpired lease

Logitech Europe S.A.

 

  

 

Logitech Purchase of Saitek Line

EPFL - Quartier de L'Innovation

 

Escrow Outstanding (Escrow Agreement) 9/15/2017

 

 

Daniel! Borel Innovation Center

 

1015 Lausanne, Switzerland

 

Attn: Francios Stettler, AGC

 

 

 

2.14

 

 

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

MHL, LLC

MHL, LLC

 

Cable

2115 O'Nel Drive, Suite 202

 

Undetermined

 

 

San Jose, CA 95131

 

 

 

 

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining <

List the contract number of,
any government contract

Executive Employment Agreement

Marshall, Tyson

 

Tyson Marshall

 

Effective until Termination

 

 

 

 

 

 

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Executive Employment Agreement

McGinnis, Karen

 

Karen McGinnis

 

Effective until Termination

 

 

 

 

 

 

 

2.17

 

 

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Executive Employment Agreement

McKeon, David

 

David McKeon

 

Effective unti] Termination

 

 

 

 

 

 

 

 

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Microsoft (Xbox One) Accessory License

Microsoft Corporation

 

Agreement - Xbox Royalty

One Microsoft Way, Redmond, Washington 98052

 

Continuous renewal (every year)

 

Attn: Xbox Hardware & Technology Group, Director of 3rd Party

 

Accessories Licensing

 

 

 

 

 

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

Microsoft Mouse Technology License

Microsoft Licensing GP

 

Microsoft patent related to computer mice

6100 Neil Road, Suite 210

 

Patent expiration

 

 

Reno, Nevada 89511-1137

 

Dept 551, Volume Licensing

 

 

 

 

Official Form 206G

Schedule G: Executory Contracts and Unexpired Leases

page 3-0f 5

 
Debtor

|.

 
 

{

 

Mad Catz, Inc.

\

 

Name

_ List all contracts and unexpired Jeases

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

  

Lease Agreement for warehousing space located at

Vd |

Case 17-10679-LSS Doc13 Filed 04/06/17 Page 56 of 60

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Case number (if known),

  

 

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired lease

Nevada Business Park, LLC

 

490 Nevada Street, Redlands, CA 92373

c/o Philip Sirianni, Jr.

 

June 30, 2019

 

 

120 Vantis, Suite 530
Aliso Viejo, CA 92656

 

 

 

 

State what the contract or
lease is for and the nature
of the debtor's interest

Postal Meter

Pitney Bowes

 

Inside Sales Group

 

 

27 Waterview Drive

 

 

 

 

 

lease is for and the nature
of the debtor's interest

State the term remaining <

List the contract number of.
any government contract

State the term remaining 32 Months Shelton, CT 06484

List the contract number of Attn: Keith Mcintosh

any government contract -

State what the contract or Samsung Samsung Electronics Co., Ltd.

 

Samsung Mobile Devices

129 Samsung-ro. Yeongtong-gu

 

Automatically extends for 2 years

 

 

Suwon-si, Gyeonggi-do 443-742 Korea

 

 

 

 

2.2

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Peripheral License Agreement - Sony PS4

Sony Computer Entertainment America LLC

 

Royalty

2207 Bridgepoint Parkway

 

Undetermined

 

 

San Mateo, CA 94404
Attn: Jon Regala

 

 

 

 

x

State what the contract or
lease Is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Sony Interactive Entertainment America, LLC

Sony Interactive Entertainment America, LLC

 

Fightstick Royalty Agreement

2207 Bridgepointe Parkway

 

Undetermined

 

 

San Mateo, CA 94404

 

 

 

 

 

 

n |
a

|

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Lease Agreement for Cannon Printer

South Coast Copy Systems, Inc.

 

located at San Diego Office

6625 Nancy Ridge Drive

 

36 Months

 

 

San Diego, CA 92121

 

 

 

 

7

Ny
i N
Lene.

 

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Lease Agreement for office space located at

10680 Treena Street, San Diego, CA

November 15, 2020

 

 

TPP 212 Scripps, LLC

c/o Cypress Asset Management, Inc.
10650 Treena Street, Suite 109

San Diego, CA 92131

Attn: Ron Lack

 

 

 

 

Official Form 206G

Schedule G: Executory Contracts and Unexpired Leases

page 4 of 5

 
 

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Case 17-10679-LSS Doc13_ Filed 04/06/17

0

 

Mad Catz, Inc.

Name

417-10679 (KG)

Debtor Case number (if known),

 

|| Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

 
   
      

' State the name and mailirig address for all other parties with

__.” List all contracts and unexpired leases ne
‘ . . : oe _ whom the debtor has an executory contract or unexpired lease

z

8

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

Distribution Agreement

U&l Entertainment, LLC

 

Distribution of Rock Band 4 Products

5850 Opus Parkway, Suite 250

 

Until Sold through

Minnetonka, MN 55343

 

 

Attn: CEO

 

 

 

 

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Purchase Agreement

U&l Entertainment, LLC

 

Rock Band 4 Inventory Purchase

5850 Opus Parkway, Suite 250

 

Until Product Sold

Minnetonka, MN 55343

 

 

Attn: CEO

 

 

 

 

State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining <

List the contract number of |
any government contract

Microsoft Software Lease

VAR Resources, Inc.

 

Sequel Compliances

2330 Interstate 30

 

June 15, 2018

Mesquite, TX 75150

 

 

 

 

 

 

State what the contract or

Via Licensing

Via Licensing Corporation

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.30 lease is for and the nature = AAC Patent License Agreement 475 Brannan Street, Suite 320
of the debtor's interest
J 3 San Francisco, CA 94107
ini 17/2018 :
State the term remaining na Attn: AAC License Administrator
List the contract number of ,
any government contract
State what the contract or VoiceAge Corporation VoiceAge Corporation
2.31) lease is forand the nature = wWi_Fj Device 750 Chemin Lucerne, Suite 250
of the debtor’s interest
— ; Montreal, Quebed
State the term remaining Undetermined Canada H3R 2H6
List the contract number of
any government contract
State what the contract or Wright Gift Company 11 LLC Wright Gift Company II LLC
2.32 lease is for and the nature In Air IP 6180 Haas Street

 

Undetermined

La Mesa, CA 91942-4311

 

 

 

 

 

 

 

 

State what the contract or
Jease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

 

 

 

 

 

 

 

Official Form 206G

Schedule G: Executory Contracts and Unexpired Leases

page 5 of 5
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Case 17-10679-LSS Doc13 Filed 04/06/17 Page 58 of 60

Fill in this information to identify the case:

Debtor name Mad Catz, Inc.

 

, Delaware
(State)

United States Bankruptcy Court for the:
17-10679 (KG)

District of

Case number (If known):

 

 

CJ Check if this is an
amended filing

Official Form 206H

 

Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.

12/15

 

  

  

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Does the debtor have any codebtors?
(1 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
Yes
2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
: Name Mailing address Name : ee
2.4 Mad Catz Interactive, Inc. 181 Bay Street, Suite 4400 Sterling National Bank m@D
Street QO EF
OG
Toronto, Ontario M5J 2T3
City State ZIP Code
2.2 132815 Ont 5560 Explorer Drive Sterling National Bank aD
Street OT O EF
ac
Mississauga ON L4W 5M3
City State ZIP Code
2.3 Mad Catz Int. Asia, Ltd 138 Sha Tin Rural Committee Road Sterling National Bank @pD
Street O EF
Unit 1717-19, 17F QaG
Shatin NT, Hong Kong
City State ZIP Code
2.4 Mad Catz Europe Ltd. 1-2 Shenley Pavillions Chalkdell Drive Fannus Group International, Inc. D
Street O E/F
QG
Shenley Wood Milton Keynes MK5 6LB
City State ZIP Code
25 Mad Catz Interactive, Inc. 181 Bay Street Fannus Group Intemational, Inc. @D
Street UO E/F
Suite 4400 aG
Toronto ON M5J 2T3
City State ZIP Code
2.6 1328158 Ontario Inc. 5560 Explorer Drive Fannus Group International, Inc. aD
Street Q E/F
QG
Mississauga ON L4W 5M3
City State ZIP Code

 

 

Official Form 206H

Schedule H: Codebtors

page 1 of 2
| | | | ee | pen

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Debtor Mad Catz, Inc. 17-10679 (KG)

Case number (if known),

 

Name

S| Additional Page if Debtor Has More Codebtors

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 2: Creditor
Mailing address : Name iy
27 Mad Caiz Interactive Asia Ltd. 138 Sha Tin Rural Committee Road Fannus Group International, Inc. D
Street Q EF
Unit 1717-19 17F Qc
Shatin Nt Hong Kong
City State ZIP Code
2.8 Mad Catz GmbH Landsberger Strasse 400 Fannus Group Intemational, Inc. D
Street OQ EF
OG
Munich Germany 81241
City State ZIP Code
2.9 Mad Catz SAS 13 Rue Camille Desmoulins Fannus Group International, Inc. D
Street Q E/F
QG
Issy Les Moulineaux Cedex 92441
City State ZIP Code
2.
— oD
Street QO E/F
a 6G
City State ZIP Code
2.
— oD
Street QO E/F
QG
City State ZIP Code
2.
— QD
Street Q E/F
QG
City State ZIP Code
2.
—_ OD
Street QO E/F
QG
City State ZIP Cade
2.
_— QOD
Street Q E/F
QG
City State ZIP Code

 

 

 

Official Form 206H Schedule H: Codebtors page 2 of 2
 

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MTR eM CEE) identify the case: and this.fiting:

Debfor Name: Inre: Mad Catz, Inc.

United States Bankruptcy Court for the District of Delaware
(State)

Case number (if known): _17-10679 (KG)

 

 

Official Form 202 .
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/5

An individual who is authorized to act on behalf of a non-individuaf debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
#519, and 3571.

oe Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

LX] Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G; Execulory Contracts and Unexpired Leases (Official Form 206G)

Xx] Schedule H: Codebtors (Official Form 206H)

DX

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

C] Amended Schedule

{_] Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

L} Other document that requires a declaration:

| declare under penalty of perjury that the foregoing is true and correct.

Executed on . 4/6/2017 MO

MM / DD / YYYY Signature of individual signing on behaif of debtor

    
  

 

David McKeon
Designated Representative
